Case: 6:19-cv-00152-REW-MAS Doc #: 75 Filed: 01/25/21 Page: 1 of 2 - Page ID#: 419




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION

 AMY JACKSON-BOLINGER, PAMELA                          )
 JOHNSON, AND MELISSA NORTH                            )
 on behalf of themselves and all others                )
 similarly situated,                                   )
                                                       )
                 Plaintiffs,                           ) Civil Action No. 6:19-CV-152-REW
                                                       )
 v.                                                    )
                                                       )
 AMERICORE HEALTH, LLC, et al.,                        )
                                                       )
                 Defendants.                           )

                               RESPONSE TO SHOW CAUSE ORDER

        Throughout this litigation, the Americore Health Defendants have been inactive and

 unrepresented by counsel. In light of the Plaintiffs’ recent dismissal of the only active and

 represented Defendants in the litigation, Plaintiffs have been unable to coordinate with the

 remaining Defendants to submit a joint status report. For their status report, Plaintiffs advise that

 they have:

        (1) settled with the individual board member Defendants;

        (2) dismissed the individual board member Defendants; and

        (3) moving the Court for an order dismissing the entire action pursuant to Federal Rule of

              Civil Procedure 41(a)(2) at this time.
Case: 6:19-cv-00152-REW-MAS Doc #: 75 Filed: 01/25/21 Page: 2 of 2 - Page ID#: 420




                                                      Respectfully Submitted,

                                                      /s/ Ronald E. Johnson, Jr.
                                                      Ronald E. Johnson, Jr. (KY 88302)
                                                      Sarah N. Emery (KY 94261)
                                                      Hendy Johnson Vaughn Emery, PSC
                                                      909 Wright’s Summit Parkway #210
                                                      Ft. Wright, Kentucky 41011
                                                      Tel. 859.578.4444
                                                      Facsimile 859.578.4440
                                                      rjohnson@justicestartshere.com
                                                      semery@justicestartshere.com
                                                      Counsel for Plaintiffs


                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed on this 25th day of January, 2021,
 through the Court’s ECF system, which will send an electronic notice to all counsel of record.

                                              Ronald E. Johnson, Jr.
                                              Ronald E. Johnson Jr.
